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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

- DR. SHIVA AYYADURAT,
Plaintiff,

v. C.A. No. 1:20-12080-MLW
WILLIAM FRANCIS GALVIN, in his
official capacity as the
Secretary of the Commonwealth
of Massachusetts, and
CHARLES OD. BAKER, in his

official capacity as Governor
of Massachusetts,

 

Defendants.
MEMORANDUM AND ORDER
WOLF, D.J. September 10, 2021
I. SUMMARY

Plaintiff, former candidate for the United States Senate Dr.
Shiva Ayyadurai, brought this case challenging the integrity of
the September 2020 Massachusetts Republican Primary Senate
Election (the "Primary Election"), and by extension the November
2020 Massachusetts General Senate Election (the "General
Election"). He alleges that the Massachusetts Secretary of State,
William Francis Galvin, engaged in election fraud by using a
computer algorithm to tilt the results of the Primary Election in
his opponent's favor. Plaintiff has moved for a preliminary
injunction compelling a hand-recount of the Primary Election and

decertifying the results of the General Election. Defendants
 

 

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Secretary Galvin and Governor Charles Baker have moved to dismiss
plaintiff's Amended Complaint on several grounds.

Because plaintiff is proceeding pro se, the court has
liberally construed his pleadings. Nevertheless, the Amended
Complaint must be dismissed.

The court concludes that it lacks subject matter jurisdiction
to decide the merits of plaintiff's allegations. Plaintiff asks
the court to grant him injunctive relief based on Secretary
Galvin's alleged violations of federal law during the Primary
Election. The Eleventh Amendment to the United States Constitution
bars that requested relief and deprives the court of jurisdiction
to grant it.

Accordingly, defendants' Motion to Dismiss is being allowed
and plaintiff's Motion for a Preliminary Injunction is being
denied.

II. BACKGROUND

In January 2019, plaintiff launched his campaign as a
Republican candidate for the United States Senate. See Amended
Complaint (Dkt. No. 22) at 20. His primary opponent was Kevin
O'Connor. See id.

The Primary Election was held on September 1, 2020. See id.
The reported results showed that plaintiff won Franklin County by
approximately 10% of the vote and lost all other counties in

Massachusetts by a ratio of approximately 60%-40%. See id. at 20-

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21; see also Secretary of the Commonwealth of Massachusetts, 2020
U.S. Senate Republican Primary, available at
https: //electionstats.state.ma.us/elections/view/139800/.

Plaintiff did not concede. Nor did he request a recount of
the Primary Election under Massachusetts General Laws ch. 54, $135.
Instead, plaintiff ran a write-in campaign for election in the
November 2020 General Election. See Amended Complaint at 21; see
also Secretary of the Commonwealth of Massachusetts, 2020 U.S.
Senate General Election, available at
https: //electionstats.state.ma.us/elections/view/140755/.

Plaintiff also began investigating whether there were any
irregularities in the Primary Election. See Amended Complaint at
21. On September 9, 2020, plaintiff went to Secretary Galvin's
office to deliver a public records request concerning whether the
Secretary stored all digital ballot images from the Primary
Election. See id. at 21. On September 24, 2020, he was informed
by the Massachusetts Elections Director, Michelle Tassinari, that
pursuant to Massachusetts state law, Secretary Galvin's office did
not collect or store ballot images. See id. at 23-24.

The General Election was held on November 1, 2020. Tncumbent
Senator Edward Markey defeated Kevin O'Connor with approximately
64% of the vote. See Secretary of the Commonwealth of
Massachusetts, 2020 U.S. Senate General Election, available at

https: //electionstats.state.ma.us/elections/view/140755/.

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Plaintiff received 21,134 votes - less than 1% of all ballots cast.
See id.

Plaintiff, acting pro se, filed the original Complaint in
this case on November 20, 2020. See Dkt. No. 1. On November 23,
2020, he filed an Emergency Motion for a Preliminary Injunction
that would, if issued, have stayed certification of the results of
the General Election and ordered a hand recount of both the Primary
and General Election votes. See Dkt. No. 6. On November 25, 2020,
while the Emergency Motion for a Preliminary Injunction was
pending, Governor Baker certified the results of the General
Election. See Affidavit of Michelle Tassinari (Dkt. No. 129-1) at
2-3. On December 5, 2020, Secretary Galvin filed an Opposition to
the Emergency Motion for a Preliminary Injunction, see Docket No.
20, and a Motion to Dismiss, see Docket No. 17,

As the court stated in its December 16, 2020 Memorandum and
Order, plaintiff's Complaint was deficient in several respects.
See Dkt. No. 21. His claims may already have been moot because
Governor Baker had certified the results of the General Election
on November 25, 2020. See id. at 2. Plaintiff had also failed to
plead a plausible claim for which relief could be granted because
the Complaint only alleged that Secretary Galvin had failed to
preserve ballot images in violation of 52 U.S.C. §§20701-20702,
which do not provide a private right of action. See id. at 3.

Moreover, because plaintiff had not sued Governor Baker, the court

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could not have issued meaningful injunctive relief. See id. at 3-
4. However, in part because plaintiff was acting pro se, the court
did not dismiss the Complaint without prejudice. See id. at 5.
Instead, the court ordered plaintiff to file an Amended Complaint
“adding any necessary party or parties, clarifying his claims, and
stating whatever relief he now seeks." Id. at 5.

On December 25, 2020, plaintiff filed an Amended Verified
Complaint. See Dkt. No. 22 (the "Amended Complaint"). He also
then filed a new Motion for a Preliminary Injunction seeking
decertification of the General Election and an order requiring a
court-supervised hand count of the paper ballots for the Primary
Election. See Dkt. No. 23 (the "Motion for Preliminary
Injunction").

The Amended Complaint pleads one count, pursuant to 42 U.S.C.
§1983, for alleged violation of the one person, one vote principle
of the Equal Protection Clause of the Fourteenth Amendment to the
United States Constitution. See Amended Complaint at 3, 27 (citing
Reynolds v. Sims, 377 U.S. 533 (1964)). The essence of plaintiff's
Equal Protection claim is that Secretary Galvin allegedly used
computer algorithms to dilute each vote for plaintiff to 0.66 of
one vote, while increasing each vote cast for Kevin O'Connor to
1.2 votes, thus fraudulently manufacturing victory for O'Connor.
See id. at 1. Plaintiff claims that this was possible because the

ballot tabulation software used by the Commonwealth included a

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“weighted race" feature which can assign values greater than or
less than one to each vote. See id. at 22, 27; see also Plaintiff's
Affidavit in Support of Amended Complaint (Dkt. No. 22-6) at 26-
29. He contends that if the votes for him and O'Connor were not
distorted in this way, he would have won the Primary Election with
approximately 53% of the vote. See id. at 35. Plaintiff further
alleges that after the Primary Election Secretary Galvin failed to
preserve the digital ballot images created by the machines that
tabulated the votes cast. See id. at 10. He claims that this
makes it impossible to conduct an electronic audit of the vote and
raises further doubt about the reliability of the election results.
See id. at 26.

On January 3, 2021, then Vice President Michael Pence, acting
as the President of the Senate, administered the oath of office to
Edward Markey and swore him in as a United States Senator for the
Commonwealth of Massachusetts. See "Administration of Oath of
Office." Congressional Record 167:1 (Jan. 3, 2021) p. S4-5.

On January 8, 2021, defendants filed an Opposition to the
Motion for Preliminary Injunction (Docket No. 30) ("Defendants'
Opposition") and moved to dismiss the Amended Complaint (Docket
No. 28) (the "Motion to Dismiss"). They argued that the Amended
Complaint should be dismissed under Rule 12(b)(1) of the Federal
Rules of Civil Procedure ("Rule (12) (b)(1)") because the court

lacks subject matter jurisdiction; under Rule 12(b) (6) of the

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Federal Rules of Civil Procedure ("Rule (12) (b)(6)") because
plaintiff failed to state a plausible claim for which relief could
be granted; and under Rule 9(b) of the Federal Rules of Civil
Procedure because plaintiff did not plead his fraud claims with
particularity. See Motion to Dismiss at 1.

Plaintiff filed an Opposition to the Motion to Dismiss (Docket
No. 31) ("Plaintiff's Opposition") and Reply in Support of his
Motion for Preliminary Injunction (Docket No. 32) ("Plaintiff's
Reply") on January 22, 2021. On February 9, 2021, plaintiff
requested that the court take judicial notice of an additional
case, Tenney v. Oswego Cty. Bd. of Elections, 142 N.Y.S.3d 323,
324 (N.Y. Sup. Ct. 2021), which concerned an election challenge
under New York state law. See Request for Judicial Notice (Dkt.
No. 33). On May 4, 2021, he filed supplemental affidavits from
individuals alleging voter fraud in different regions of the United
States as support for his Opposition to the Motion to Dismiss.
See Supplemental Affidavits (Docket No. 34).
III. DISCUSSION

“When faced with motions to dismiss under both 12(b)(1) and
12(b) (6), a district court, absent good reason to do otherwise,
should ordinarily decide the 12(b) (1) motion first." Ne. Erectors
Ass'n of BTEA v. Sec'y of Lab., Occupational Safety & Health

Admin., 62 F.3d 37, 39 (1st Cir. 1995). For the reasons discussed
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below, the court is allowing the Motion to Dismiss under Rule
12(b) (1) for lack of subject matter jurisdiction.

"In opposing a motion to dismiss for lack of subject matter
jurisdiction under Fed. R. Civ. P. 12(b) (1), the plaintiff bears
the burden of establishing that the Court has jurisdiction."

Pataud v. United States Citizenship & Immigr. Servs., Bos. Field

 

Off., 501 F. Supp. 3d 22, 25 (D. Mass. 2020) (citing Lujan v.

Defenders of Wildlife, 504 U.S. 555, 561 (1992)). See also Mangual

 

v. Rotger-Sabat, 317 F.3d 45, 56 (lst Cir. 2003) ("The party
invoking federal jurisdiction has the burden of establishing that

it exists").

 

Here, defendants bring a "sufficiency challenge" to
plaintiff's claim of subject matter jurisdiction. Valentin v.
Hospital Bella Vista, 254 F.3d 358, 363 (ist Cir. 2001). A
sufficiency challenge "accepts the plaintiff's version of

jurisdictionally-significant facts as true and addresses their
sufficiency, thus requiring the court to assess whether the
plaintiff has propounded an adequate basis for subject-matter
jurisdiction." Id. "In performing this task, the court must
credit the plaintiff's well-pleaded factual allegations (usually
taken from the complaint, but sometimes augmented by an explanatory
affidavit or other repository of uncontested facts), draw all
reasonable inferences from them in her favor, and dispose of the

challenge accordingly." Id.
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As plaintiff is proceeding pro se, his pleadings must be
liberally construed. See Hughes v. Rowe, 449 U.S. 5, 9 (1980);
Instituto de Education Universal Corp. v. U.S. Dept. of Ed., 209
F.3d 18, 23 (lst Cir. 2000). "[TJechnical deficiencies in the
complaint will be treated leniently and the entire pleading will
be scrutinized by the district court to determine if any legally
cognizable claim can be found within the four corners of the
plaintiff's document." Wright & Miller, 5 Fed. Prac. & Proc. Civ.
§1286 (3d ed. 2020). However, this leniency "does not require the
[] court to fabricate a claim that a plaintiff has not spelled out
in the complaint." See id.

Even construing the Amended Complaint liberally, the court
concludes that plaintiff's claims are barred by the Eleventh
Amendment to the United States Constitution. The Eleventh
Amendment provides that "(t]he judicial power of the United States
shall not be construed to extend to any suit in law or equity,
commenced or prosecuted against one of the United States by
Citizens of another State, or by Citizens or Subjects of any
Foreign State." U.S. Const. amend. XI. It prohibits the citizens
of foreign countries from maintaining a suit in federal court
against a State. See Pennhurst State School & Hospital v.
Halderman, 465 U.S. 89, 97-100 (1984) (Pennhurst II); Quern v.
Jordan, 440 U.S. 332, 342 (1979); Edelman v. Jordan, 415 U.S. 651,

663 (1974). This sovereign immunity generally bars a plaintiff

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from seeking any remedy against a State or its instrumentalities
in federal court unless that State has unambiguously waived its

immunity. See Will v. Michigan Department of State Police, 491

 

U.S. 58, 69-71 (1989); Edelman, 415 U.S. at 673 (waiver of Eleventh
Amendment immunity must be so unambiguous as to only have one
reasonable construction).

However, the Eleventh Amendment does not prohibit suits
against state officers for prospective relief for violations of
federal law. See Pennhurst II, 465 U.S. at 102-06; Ex Parte Young,
209 U.S. 123, 159-60 (1908). "In determining whether the doctrine
of Ex Parte Young avoids an Eleventh Amendment bar to suit, a court
need only conduct a straightforward inquiry into whether [the]
complaint alleges an ongoing violation of federal law and seeks
relief properly characterized as prospective." Verizon Maryland,

Inc. v. Pub. Serv. Comm'n of Maryland, 535 U.S. 635, 645 (2002).

 

As the Supreme Court has explained, the Ex_Parte Young
exception:

has been focused on cases in which a violation of federal
law by a state official is ongoing as opposed to cases
in which federal law has been violated at one time or
over a period of time in the past
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Relief that in essence serves to compensate a party
injured in the past by an action of a state official in
his official capacity that was illegal under federal law
is barred even when the state official is the named
defendant ... . On the other hand, relief that serves
directly to bring an end to a present violation of
federal law is not barred by the Eleventh Amendment.

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B.H. Papasan v. Allain, 478 U.S. 265, 277-78, (1986) (Footnote
omitted). The First Circuit has also recognized that "[t)he
pivotal question is whether the relief serves directly to bring an
end to a present violation of federal law." Whalen v.

Massachusetts Trial Court, 397 F.3d 19, 29 (lst Cir. 2005)

 

(internal marks omitted).

In this case, plaintiff alleges only that Secretary Galvin
violated his federal rights one time - when he allegedly
fraudulently distorted and miscounted the votes received by
plaintiff and his opponent concerning the Primary Election.
Although he claims that this alleged conduct tainted the results
and certification of the General Election, he does not allege that
Secretary Galvin or others acting in concert with him committed
further violations of federal law during the General Election.
Nor does plaintiff allege that they are now engaging in such
unlawful conduct. Because plaintiff is seeking a remedy for a
single alleged past violation of federal law rather than to end an
alleged ongoing, present violation, his claim is barred by the
Eleventh Amendment and his case must be dismissed. See B.H.
Papasan, 478 U.S. at 277-78; Whalen, 397 F.3d at 29; Bowyer v.
Ducey, 506 F.Supp.3d 699, 716 (D. Ariz. 2020) ("The relief
requested-compelling the Governor to decertify the election—[]
seeks to alter past conduct. Plaintiffs have not identified an

ongoing violation to enjoin."); King v. Whitmer, 505 F. Supp. 3d

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720, 729 (E.D. Mich. 2020) (request to decertify the 2020 election
barred by Eleventh Amendment because plaintiffs “are seeking to
undo what has already occurred"); Feehan v. Wisconsin Elections
Comm'n, 506 F.Supp.3d 596, 616-17 (E.D. Wis. 2020) (finding a
request to decertify 2020 election barred by Eleventh Amendment
and stating that "saying that a completed event is an ongoing
violation doesn't make it so").

In view of the foregoing, it is hereby ORDERED that:

1. Defendants' Motion to Dismiss (Docket No. 28) is
ALLOWED.

2. Plaintiff's Amended Complaint (Docket No. 22) is
DISMISSED.

3. Plaintiff's Motions for a Preliminary Injunction (Docket

Nos. 6, 23) are MOOT.

   
   
 

UNITED SPATES DISTRICT JUDG

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